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                    Exhibit 1
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  AQ   106 Rev.        04 10       Application          fora        Search          Warrant



                                                                                                                                                                                                                  c.


                                                                         UNITED STATES DISTRICT COURT
                                                                                                                          for the


                                                                                                      Northern          District         of   C


                        In the      Matter             of     the            Search       of                                                                                                           ýf
                                                                                                                                                                                    ý.   ýtn                tit        t
                                                                                                                                                                                           o     J
                                                                                                                                                                                                     OF C
                                                                                                                                                                        7109
                 Briefly describe            the
                                                       pi operty              to   be searched
                 or    iderrtifv   the person               lýv    Hume and              address                               h                       ase   A00                                                              -    -



2218   Old       Middlefield            Way            Ste.             L    and     M        Mountain

California       94043



                                                                                    APPLICATION                    FOR A SEARCH WARRANT

                  I a     federal       law enforcement                                  officer      or an attorney for the government request a search warrant and state under

  penalty        of perjury                            have reason                            believe     that on the following
                                                                                                                                person or property identify the person or describe the
                                       that       I                                      to

  property       to   be searched        and          give        its   location
  See Attachment                   A-2       in       the     Affidavit              in   Support         of   Application         for   Search            Warrant



  located        in    the    Northern                                                    District        of   California                                                  there   is   now    concealed                   identify the

  person or describe the property                           to     be       seized

  See Attachments                      B and C incorporated                                    into   the   Affidavit    in   Support         of   Application         for   Search Warrant.




                 The       basis       for   the search                       under           Fed.    R. Crim.     P.   41    c     is
                                                                                                                                         check     one or     Wore

                             0     evidence of a                         crime

                             Z     contraband                      fruits           of   crime or other items                 illegally       possessed

                             Q     property             designed                    for   use intended            for   use        or used        in   committing a          crime

                             Q     a   person           to        be        arrested          or   a person     who      is   unlawfully           restrained.



                 The search             is    related                   to   a     violation         of

                       Code Section                                                                                                                Offense Description

            18    U.S.C.               1344                                                                                                        Bank Fraud Conspiracy Bank Fraud-False
            18 U.S.C.                  371                                                                                                         Statements Conspiracy
            18 U.S.C.                  1014           and 18 U.S.C.                            1349

                 The application                       is    based               on these facts

            See attached                                                                                                                 Warrant
                                                                                                                         Search                                                                                   A-2 B and C.
                                        Affidavit                 In     Support              of   Application    for                                       with   incorporated         Attachments




       Approved
       As    To        Form
                                   John           Hem               a         ATJSA
                                                                                                                                                       7
                                                                                                                                                             i        Ap      ants      signalAre

                                                                                                                               Natalie        S.       Rezai-zadeh Special Agent
                                                                                                                                                                      Printed   name and       title




  Sworn      to       before       me and              signed                in    my     presence.



                               Lt
  Date

                                                                                                                                                                        Judges      signature



  City and            state    San Francisco                                California                                         Chief United States                   Magistrate         JOSEPH          C.        SPERO
                                                                                                                                                                      Printed   name and       title
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                                        AFFIDAVIT IN SUPPORT OF
                                   APPLICATION FOR SEARCH WARRANT

         I    Natalie     S.   Rezai-zadeh a Special              Agent with     the   Federal Bureau of Investigation in



Palo Alto California being duly sworn depose and state as follows



I.       PURPOSE AND                  SUMMARY OF AFFIDAVIT

         1.         I   am     submitting        this affidavit    in   support of a request         for a    warrant to search the



home and       office   of     MARK MIGDAL               for   evidence regarding frauds committed on banks in



connection      with short sales.           I   believe that the evidence         set forth     herein demonstrates               probable



cause   that   these searches         will uncover       evidence that        MIGDAL           his   wife     ANETTA KALK                  and



his associate     NAUM MORGOVSKY                         committed          violations     of 18 U.S.C.                371 1014 1344


and 1349.


         2.         I   discovered      the evidence           set forth    below in the course of my investigation of


NAUM MORGOVSKY and                          IRINA      MORGOVSKY               for the     unlawful         export of night vision for



export to Russia.         Through       the course of       my investigation           I   discovered       evidence to show              NAUM

MORGOVSKY               used the      name Gary        Piper. as    a straw purchaser          in the short sale              of two



condominiums         in   Hawaii      for   the benefit of        MARK        MIGDAL.         MIGDAL              owned       the properties




and owed       substantial       sums   to federally      insured lenders        on the mortgages             for   each property.



Using the name Gary Piper                MORGOVSKY                 purchased      the properties in short sales in 2009 and



2010.   After the sales the properties remained under                          MIGDALS           control.         In   2016


MORGOVSKY               transferred     the properties to          MIGDALS             wife using her maiden name                      for the




same amounts he paid             to   purchase       the properties in the short sales. Four months later



MIGDALS           wife transferred the properties to a                  MIGDAL         family trust.         As   a result the      two victim



mortgage lenders          lost   approximately $430491.                  As   discussed below           I   make       this   affidavit   in



support of an application for a warrant to search the below-listed                              places hereinafter the



SUBJECT PREMISES.
                                                                        1
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$50500.      The   first    and     third    check payments to Tactical                  Light Solutions was
                                                                                                             made from Hitek


Internationals     BOA-6298                account.    On    or   about     June 11         2010    Tactical     Light Solutions sent an



email to   NAUM MORGOVSKY                           and advised          that the     150   MX10160        tubes were ready for pick



up.



       56.         On      or about February           4     2015        Tactical     Light Solutions advised the FBI that the



DEP MXA0160           is   a   Gen     2 image intensifier tube manufactured                         by   Photonis      USA.     Tactical




Light Solutions provided a data sheet for this tube which showed the Photonis product                                                 number to


be XX1441.       On   or about April            2     2015    the      Vice President        of Sales and Business             Development


Photonis     USA    provided a basic data sheet for the                         XX1441       tube.    Based on         the   data sheet



information these tubes appear to be controlled                            on   the   United States Munitions- List under



Category XIlc.         A       State   Department           license      pursuant to the      ITAR        is   required for export or



temporary import.



           57.     Based on the above                 information there             is   probable     cause to believe         that   MIGDAL


helped finance the purchase                  of controlled night vision equipment for                      NAUM MOROGVSKY.

           58.     In addition to financing the purchase of night vision equipment for                                         NAUM

MORGOSKY           there       is   also   reason to believe that            MIGDAL may have                   sent   shipments       overseas on




obtained-from
behalf of   NAUM

      FedEx show
                        and IRINA


                           MARK MIGDALs
                                              MORGOVSKY                  using an Auto Export



                                                             secretary Leila Freeman of
                                                                                                           Group.      Records



                                                                                                          Two Towers Group             sent six




FedEx shipments            on December           14 2010          to   Oleg Shkoda          Auto Export Group C/O               AEL       13500



S Figueroa Street Los Angeles                    California.           All six shipments        were      sent   using FedEx account



number 464345060               which belongs          to   Citybest Construction              Management 4900                Fulton Street



Apt 110 San Francisco                 California.          Citybest Construction Management                      is   Irma



MORGOVSKYS                 company.           Prior to      Leila Freeman sending              the shipments           on or about October


13 2010      Serguei Seleznev of VisionTech                            4900 Fulton Street          110         San Francisco California


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also sent    a shipment to Oleg Shkoda              Auto Export Group C/O AEL.                     Records   obtained         from the


Federal Reserve Bank          of   New     York show       NAUM MORGOVSKY                         wired $965 to Oleg Shkoda



on   or   about   December        15 2010    one day after Leila Freeman sent the 6 shipments                      to    Shkoda.



           59.       As   explained above         MIGDAL         was     identified   as   an employee of Hitek            who


collected       paychecks    and who      also   provided financing         for the   purchase       of controlled night vision



technology.        Based on   this   and   the fact     that   he used   his secretary       to   ship six packages to an



exporter in Los Angeles using a FedEx account                      belonging to       IRINA        MORGOVSKY             gives




probable cause to believe            MIGDAL        is   involved   with    MORGOVSKY                in regards to the illegal



export or smuggling of controlled technology.


V.         THERE IS PROBABLE CAUSE THAT EVIDENCE WILL BE LOCATED AT
           THE SUBJECT PREMISES

           60.       There   is   probable cause to believe that evidence                  of violations of 18 U.S.C.               371


1014 1344 and 1349            will   be found at the residence            of   MARK MIGDAL              and Anetta Kalk


located at 445 Golden Oaks Drive -Portola Valley California Attachment                                   A-1.


                     a.       The address 445 Golden Oak Drive was used when addressing the


           Modified job      offer   which   NAUM MORGOVSKY                        sent to    MIGDAL.        Based on          the fact




           that   MORGOVSKY           conspired         with   MIGDAL        in   the short sale schemes there            is   reason to



           believe   other   correspondence         from       MORGOVSKY            or   the financial institutions involved



           in   these transactions    may be      found at 445 Golden             Oak    Drive because that        is   the    mailing



           address provided by        MIGDAL.


                     b.       This   is   the address Hitek International used for his employment



           correspondence.         In addition     as    explained above          MIGDAL          helped finance    the   purchase



           of controlled night vision equipment for an order placed by                            MORGOVSKY.             As     stated




           above    NAUM MORGOVSKY                      and IRINA        MORGOVSKY                through Hitek other




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particularity in the             warrant while minimizing exposure                             or      examination of irrelevant privileged



or confidential           files   to    the extent       reasonably practicable.



            71.        For the purposes                 of this search protocol the phrase                        to   preserve       evidence     is




meant      to
                encompass reasonable                    measures to ensure the integrity of information                               responsive    to the




warrant and the methods                   used to locate same.



VII.        REQUEST FOR SEALING

            72.        Because this investigation                    is   continuing           premature disclosure of the contents of


this affidavit       will    jeopardize the progress of the investigation.                                    Specifically      if   the investigation



becomes known              to     the subjects prior to the searches                        they might attempt to destroy evidence or



flee to    avoid prosecution.               Accordingly          I   request that the Court issue an order pursuant to which



the Applications            for    Search Warrant and the Affidavit be filed under seal under further order of



this   Court.



VIII.       CONCLUSION

            73.        Based-upon            all   the foregoing            there      is   probable          cause   to   believe that evidence        of


violations        of 18 U.S.C.             371 1014 1344 and 1349                            including those items listed in Attachment



B   will    be found        at    the   SUBJECT PREMISES.


            I   declare     under penalty of perjury under the laws of the United States that the foregoing                                                  is




true   and      correct.




                                                                                            NatE         S.      Mi/zadeh        pecial Agent
                                                                                            Federal      Bureau of         Investigation




            Sworn and subscribed                   to   before   me       this   2-9               y   of August 2016.




                                                                                            THE H             ORABLE JOSEPH                C.   SPERO
                                                                                            Chief United States             Magistrate Judge




                                                                                 25
